                                         Entered on Docket
                                         May 07, 2007
                                         GLORIA L. FRANKLIN, CLERK
                                         U.S BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF CALIFORNIA




                                         The following constitutes
                                         the order of the court. Signed May 07, 2007



                                               ________________________________________
                                                           Roger L. Efremsky
                                         ________________________________________
                                                         U.S. Bankruptcy Judge




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